                          Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 1 of 7



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                   15

                   16                                 UNITED STATES DISTRICT COURT

                   17                             NORTHERN DISTRICT OF CALIFORNIA

                   18                                    SAN FRANCISCO DIVISION

                   19

                   20   ALEX BERENSON,                                  Case No. 3:21-cv-09818-WHA

                   21                    Plaintiff,                     JOINT CASE MANAGEMENT STATEMENT

                   22          v.                                       Date:       April 28, 2022
                                                                        Time:       8:00 a.m.
                   23   TWITTER, INC.,

                   24                    Defendant.

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 SAN FRANCISCO
                                                                                               JOINT CMC STATEMENT
                                                                                          CASE NO. 3:21-CV-09818-WHA
                          Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 2 of 7



                    1          Pursuant to Civil Local Rule 16-9(a), the Standing Order for All Judges of the Northern

                    2   District of California – Contents of Joint Case Management Statement, and Paragraphs 2 and 3 of

                    3   Judge Alsup’s Supplemental Order to Order Setting Initial Case Management Conference, the

                    4   parties submit this Joint Case Management Statement in advance of the case management

                    5   conference scheduled for April 28, 2022.

                    6           I.     JURISDICTION AND SERVICE

                    7          Plaintiff’s Complaint alleges that the Court has diversity jurisdiction over this case pursuant

                    8   to 28 U.S.C. § 1332. The Complaint further alleges that jurisdiction over Plaintiff’s First

                    9   Amendment claim is conferred by 28 U.S.C. § 1331 and that jurisdiction over his claims under

                   10   California law is conferred by 28 U.S.C. § 1367. The Court has personal jurisdiction over

                   11   Defendant. Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and to Paragraph 6 of

                   12   Twitter’s Terms of Service. All parties have been served. See ECF No. 8.

                   13            II.    ALLEGED FACTS

                   14          Plaintiff alleges that he had an account on Twitter, Defendant’s social media platform,

                   15   account during the COVID-19 pandemic, which he used to Tweet regarding a number of issues

                   16   concerning the pandemic, including the efficacy of measures like mask-wearing and vaccines.

                   17   Between May 2020 and May 2021, Plaintiff alleges that he maintained an email correspondence

                   18   with a Twitter employee regarding Plaintiff’s Tweets and Twitter’s approach to misinformation

                   19   regarding COVID-19 on the platform, and that the employee provided him “assurances” related to

                   20   these topics. Between May and August of 2021, Defendant affixed labels to posts regarding

                   21   COVID-19 that Plaintiff authored on Twitter. Plaintiff further alleges that on August 28, 2021,

                   22   Defendant permanently suspended Plaintiff from Twitter for violating the platform’s misleading

                   23   information policy. Plaintiff alleges that the federal government played a role in his suspension

                   24   from Twitter. He contends that as a result of Defendant’s actions, he has suffered injuries, including

                   25   to the size of the audience for his publications and his ability to sell those publications.

                   26          Based on these events, Plaintiff asserts that Defendant violated the First Amendment to the

                   27   U.S. Constitution and 15 U.S.C. § 1125(a). Plaintiff also asserts claims under the California

                   28   Constitution; California Business & Professions Code § 17000 et seq.; California Civil Code
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                                                                                                       JOINT CMC STATEMENT
 SAN FRANCISCO                                                             2                      CASE NO. 3:21-CV-09818-WHA
                          Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 3 of 7



                    1   §§ 2168, 2169, 2209; and common law claims for breach of contract, promissory estoppel, and

                    2   unjust enrichment.

                    3          Twitter denies these allegations, their sufficiency to state a claim, and Plaintiff’s ability to

                    4   prevail under any legal theory in his Complaint.

                    5          III.    LEGAL ISSUES

                    6          The central legal questions currently before the Court are those raised by Defendant’s

                    7   Motion to Dismiss:

                    8         Whether Plaintiff has stated a claim upon which relief can be granted under Federal Rule

                    9          of Civil Procedure 12(b)(6) for each of his eight causes of action,

                   10         Whether the First Amendment bars Plaintiff’s claims, and

                   11         Whether Section 230 of the Communications Decency Act bars Plaintiff’s claims.

                   12          The parties anticipate that if the Complaint is not dismissed in full, additional legal issues

                   13   will need to be resolved by the Court.

                   14          IV.     MOTIONS

                   15          Defendant’s Motion to Dismiss Plaintiff’s Complaint is fully briefed and set for hearing on

                   16   April 28, 2022. See ECF Nos. 27, 32, 33.

                   17           V.     AMENDMENT OF PLEADINGS

                   18          The parties do not anticipate any amendment to the pleadings at this stage. Should the Court

                   19   deny Twitter’s motion to dismiss or grant dismissal with leave to amend, the parties will propose

                   20   appropriate deadlines for amendment of any future pleadings.

                   21          VI.     PRESERVATION OF EVIDENCE

                   22          The parties are aware of their document preservation obligations, have conferred regarding

                   23   those obligations, and have taken steps to preserve potentially relevant evidence. The parties have

                   24   reviewed the Northern District’s Guidelines Relating to the Discovery of Electronically Stored

                   25   Information.

                   26          VII.    INITIAL DISCLOSURES

                   27          By mutual agreement, the parties have not yet exchanged initial disclosures pursuant to

                   28   Federal Rule of Civil Procedure 26(a). The parties agree that discovery should be stayed pending
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 SAN FRANCISCO                                                             3                     CASE NO. 3:21-CV-09818-WHA
                          Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 4 of 7



                    1   the Court’s ruling on the sufficiency of Plaintiff’s pleadings. Should the Court permit any of

                    2   Plaintiff’s claims to move forward, the parties agree that they will exchange initial disclosures no

                    3   later than fourteen days after Defendant files its Answer to Plaintiff’s then-operative complaint.

                    4         VIII.    DISCOVERY

                    5          In light of their agreement to stay discovery pending resolution of Defendant’s motion to

                    6   dismiss, the parties agree that it is premature to propose a discovery plan before that motion is

                    7   resolved. Should the Court permit any of Plaintiff’s claims to move forward, parties agree that they

                    8   will meet and confer to develop a discovery plan no later than fourteen days after Defendant files

                    9   its Answer to Plaintiff’s then-operative complaint.

                   10           IX.    CLASS ACTIONS

                   11          This case is not a prospective class action.

                   12            X.    RELATED CASES

                   13          There are no related cases pending in any forum.

                   14           XI.    RELIEF

                   15          Plaintiff’s Complaint seeks the following relief: (i) an injunction requiring Defendant to

                   16   carry Plaintiff’s messages, Tweets, and other content; (ii) an injunction against Defendant’s alleged

                   17   violations of the First Amendment, the California Constitution, and 15 U.S.C. § 1125(a); (iii)

                   18   damages in an amount to be proven on account of Plaintiff’s alleged violations of state and federal

                   19   law; and (iv) any other relief the Court deems just and proper. See ECF No. 1 at 69. Defendant

                   20   anticipates that in the event this case proceeds to discovery, the proper basis for calculation of

                   21   damages will be the subject of fact and expert discovery.

                   22          XII.    SETTLEMENT AND ADR

                   23          The parties have conferred about potential settlement or alternative dispute resolution

                   24   mechanisms but believe that engaging in such efforts would be premature pending resolution of

                   25   Defendant’s Motion to Dismiss.

                   26         XIII.    CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES

                   27          The parties do not consent to this case being assigned to a magistrate judge for all purposes.

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 SAN FRANCISCO                                                           4                      CASE NO. 3:21-CV-09818-WHA
                          Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 5 of 7



                    1         XIV.      OTHER REFERENCES

                    2           The parties do not consider this case suitable for reference to binding arbitration, a special

                    3   master, or the Judicial Panel on Multidistrict Litigation.

                    4          XV.      NARROWING OF ISSUES

                    5           The parties believe that it is premature to discuss potential narrowing of issues in the case

                    6   pending resolution of Defendant’s Motion to Dismiss, but will do so promptly should the Court

                    7   permit any of Plaintiff’s claims to move forward.

                    8         XVI.      EXPEDITED TRIAL PROCEDURE

                    9           The parties agree that this is not the type of case that can be handled under the Expedited

                   10   Trial Procedure of General Order No. 64 Attachment A.

                   11        XVII.      SCHEDULING

                   12           The Court will hear argument on Defendant’s Motion to Dismiss on April 28, 2022 at 8:00

                   13   a.m. The parties agree that it is premature to set a schedule for designation of experts, discovery

                   14   cutoff, hearing of dispositive motions, pretrial conference and trial prior to the resolution of

                   15   Defendant’s Motion to Dismiss.

                   16       XVIII.      JURY TRIAL

                   17           Plaintiff’s Complaint demands a jury trial on all issues so triable. The parties agree that it

                   18   is premature to estimate the anticipated length of trial prior to the resolution of Defendant’s Motion

                   19   to Dismiss.

                   20         XIX.      DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS

                   21           Defendant filed its Certification of Interested Entities or Persons pursuant to Civil Local

                   22   Rule 3-15 on January 10, 2022. ECF No. 24. Defendant certifies that as of the date of this filing,

                   23   other than the named parties, there is no such interest to report.

                   24           Plaintiff filed his Certification of Interested Parties pursuant to Civil Local Rule 3-15 on

                   25   April 20, 2022. ECF No. 34. Plaintiff certifies that as of the date of this filing, other than the named

                   26   parties, there is no such interest to report.

                   27           ///

                   28           ///
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                                                                                                       JOINT CMC STATEMENT
 SAN FRANCISCO                                                             5                      CASE NO. 3:21-CV-09818-WHA
                          Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 6 of 7



                    1          XX.     PROFESSIONAL CONDUCT

                    2          All attorneys of record for the parties have reviewed the Guidelines for Professional

                    3   Conduct for the Northern District of California.

                    4         XXI.     OPPORTUNITIES FOR JUNIOR LAWYERS

                    5          Plaintiff is not represented by any law firm with more than fifty lawyers.

                    6          Defendant is represented by Cooley LLP, a law firm which has more than fifty lawyers.

                    7   Although Defendant believes the case should be dismissed for the reasons set forth in its Motion to

                    8   Dismiss, should the case proceed past the pleadings stage, Defendant anticipates opportunities for

                    9   junior lawyers to argue discovery and evidentiary motions, and to depose fact and expert witnesses

                   10   or defend such depositions. At this stage of the litigation and because the parties have agreed to

                   11   stay discovery, Defendant believes it is premature to attempt to identify such motions and

                   12   depositions with greater specificity. Of Defendant’s current counsel of record, Reece Trevor

                   13   graduated law school fewer than six years ago, and Defendant anticipates that Mr. Trevor would

                   14   have opportunities like those described above if this case proceeds past the pleadings stage, as

                   15   would other junior lawyers who may later appear in the case. Given Defendant’s position that such

                   16   opportunities should be provided, Defendant does not believe it would be useful to require client

                   17   representatives to attend the upcoming case management conference where this subject will be

                   18   discussed.

                   19                                                      Respectfully submitted,

                   20   Dated: April 21, 2022                                  COOLEY LLP
                   21

                   22                                                          By: /s/ Kyle C. Wong
                                                                                   Kyle C. Wong
                   23
                                                                           Attorneys for Defendant
                   24                                                      TWITTER, INC.
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 SAN FRANCISCO                                                             6                      CASE NO. 3:21-CV-09818-WHA
                           Case 3:21-cv-09818-WHA Document 35 Filed 04/21/22 Page 7 of 7



                    1   Dated: April 21, 2022                                      CHARIS LEX P.C.

                    2

                    3                                                              By: /s/ James R. Lawrence
                                                                                       James R. Lawrence, III
                    4
                                                                                   Attorney for Plaintiff
                    5                                                              ALEX BERENSON
                    6

                    7                             ATTESTATION OF CONCURRENCE IN FILING

                    8               Pursuant to Civ. L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this

                    9   document has been obtained from counsel for Plaintiff.

                   10   Dated: April 21, 2022                                      By: /s/ Kyle C. Wong
                                                                                       Kyle C. Wong
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 SAN FRANCISCO                                                                 7                        CASE NO. 3:21-CV-09818-WHA
